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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
                                                                                 RECEIVED
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                                                                                CLERK U.S. DISTRICT COURT
UNITED STATES OF AMERICA,                     )                                 SOUTHERN DISTRICTOFIOWA
                                              )
                       Plaintiff,             )
                                              )
               vs.                            )       Case No. 3:12-cr-OOOI3
                                              )
PATRICIA RAE PARRIS,                          )
                                              )
                       Defendant.             )


    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered

a plea of gUi1tTto Count One of the Superseding Indictment. After cautioning and examining the

Defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that the

guilty plea was knowing and voluntary as to that count, and that the offense charged is supported by

an independent factual basis concerning each of the essential elements ofsuch offense. I, therefore,

recommend that the plea of guilty be accepted, that a pre-sentence investigation and report be

prepared, and that the Defendant be adjudged guilty and have sentence imposed accordingly.

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                                             NOT::     S 0 S MAGISTRATE JUDGE



Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
